      Case 2:18-cr-00292-RJC          Document 1640         Filed 10/10/24       Page 1 of 12




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       )
                                               )
        v.                                     )       Criminal No. 18-292
                                               )
ROBERT BOWERS                                  )



                            MEMORANDUM ORDER OF COURT

        AND NOW, this 10th day of October, 2024, upon review of the parties’ filings at ECF Nos.

1633, 1638, and 1639, and following review of all relevant docket entries, the Court hereby unseals

the following documents that the Government and Defendant now agree should be unsealed:

        ECF Nos. 122, 387, 388, 389, 390, 391, 392, 393, 394, 395, 396, 411-2, 441, 529-

        1, 594, 599, 603, 849 (not attachments), 850, 862, 864, 876 (not attachments), 883,

        884, 885, 891, 904 (not attachment), 915, 930, 931, 932, 933, 953, 956, 959, 966,

        978, 990, 1002-1, 1008, 1025, 1093, 1104, 1133, 1173, 1197, 1208, 1260-1, 1260-

        2, 1260-3, 1260-4, 1260-5, 1260-6, 1296, 1356, 1388, 1451, 1457, 1494-1, and

        1564.

        Further, following review of the parties’ briefing, the case law cited by the parties, and the

relevant docket entries, the following docket entries shall be maintained under seal on the docket

at this time:

        ECF Nos. 34, 48, 55, 56, 64, 65, 73, 81, 82, 169, 262, 303-1, 305-1, 306-1, 307-1,

        309-1, 310-1, 313-1, 318-1, 318-2, 318-3, 318-4, 318-5, 318-6, 318-7, 357-1, 357-

        2, 358-1, 358-2, 362-1, 362-2, 362-3, 366-1, 406-1, 408-1, 408-2, 408-3, 408-4,

        408-5, 408-6, 408-7, 408-8, 408-9, 408-10, 411-1, 421, 437-2, 469, 474, 557, 569,

        570, 578, 581, 632, 634, 644, 674, 678, 733, 766, 768, 783, 801, 823, 824-1, 824-

                                                   1
      Case 2:18-cr-00292-RJC               Document 1640            Filed 10/10/24         Page 2 of 12




        2, 824-3, 824-4, 824-9, 824-10, 824-11, 824-12, 834, 842, 849-1, 849-2, 853, 876-

        1, 876-2, 876-3, 876-4, 876-5, 904-1, 913, 974, 1002-2, 1012, 1026, 1032-1, 1033-

        2, 1033-3, 1033-5, 1033-7, 1057, 1072, 1081, 1083, 1086, 1091, 1092, 1095, 1099,

        1101, 1103, 1104 (USB exhibit), 1106, 1111, 1114, 1123, 1126, 1128, 1136, 1139,

        1141, 1143, 1149, 1155, 1158, 1165, 1176, 1179, 1198, 1203-1, 1203-2, 1203-3,

        1203-4, 1203-5, 1204, 1217, 1219, 1237, 1239, 1248, 1258, 1259-1, 1278, 1291,

        1295, 1297, 1298, 1302, 1310, 1313, 1319, 1333, 1352, 1379, 1380, 1381-1, 1384,

        1389-1, 1389-2, 1389-3, 1389-4, 1389-5, 1389-6, 1391-1, 1391-2, 1391-3, 1391-4,

        1391-5, 1391-6, 1391-7, 1391-8, 1409, 1 1412-1, 1413, 1416, 1432, 1441, 1461-7,

        1461-8, 1465, 1466, 1470, 1474, 1494-2, 1498, 1525, 1528, 1539-1, 1539-2, 1539-

        3, 1539-4, 1539-5, 1539-6, 1539-7, 1539-8, 1539-9, 1539-10, 1539-11, 1569, and

        1586. 2

These docket entries will be maintained under seal without prejudice to the issue being revisited

should any interested party provide sufficient argument as to why the documents should be

unsealed in the future. The Court offers as follows with respect to the documents that will be

maintained under seal at this time:

        Consistent with this Court’s experience throughout the entirety of this litigation, the parties

have submitted thorough, cogent, and more than capable analysis in support of their positions on

the remaining sealed entries. Less consistent with the Court’s experience, the parties have now

reached, essentially, full agreement on this issue following their extensive and exhaustive review.




1
 The Government has submitted a proposed redacted version of ECF No. 1409 as an unsealed exhibit to its filing at
ECF No. 1638-1. The Court agrees with the proposed redaction, and will thus maintain ECF No. 1409 under seal.
2
  The Court notes that the Government’s filing at ECF No. 1638 referred to ECF No. 843, an Order which was not
filed under seal in this matter, as a sealed document. The Court will take no action with respect to that document.

                                                        2
      Case 2:18-cr-00292-RJC           Document 1640         Filed 10/10/24     Page 3 of 12




Based upon the record presently before it, the Court agrees with the Government respecting the

“non-ex parte” documents that it believes should remain under seal, and finds that the Government

has met its burden of establishing that those documents should remain sealed at this juncture.

These documents consist, in this Court’s estimation, of discovery documents/attachments that are

not subject to a public right of access, or documents and filings that present compelling privacy

interests that outweigh the public’s right of access to those filings.

       The First Amendment guarantees a public right of access to criminal proceedings,

including documents involved in the proceedings. N. Jersey Media Grp. Inc v. United States, 836

F.3d 421, 429 (3d Cir. 2016). When considering whether a document falls under the right of public

access, courts evaluate: (1) “whether the place and process have historically been open to the press”

and (2) “whether public access plays a significant positive role in the functioning of the particular

process in question.” N. Jersey Media Grp., 836 F.3d at 429 (PG Pub. Co. v. Aichele, 705 F.3d

91, 104 (3d Cir. 2013)). The Third Circuit has explained:

       The first part of that test—generally referred to as the “experience” prong—calls
       for . . . a consideration of whether there has been a tradition of opening to the press
       the matter in question. United States v. Wecht, 537 F.3d 222, 233–34 (3d Cir.
       2008). The second part—called the “logic” prong—considers whether public
       access plays a positive role in the judicial process by, inter alia, “enhancing both
       the basic fairness of the criminal trial and the appearance of fairness so essential to
       public confidence in the system.” Id. (internal quotation marks omitted). “Where
       both prongs of the test are satisfied, a qualified First Amendment right of public
       access attaches.” Aichele, 705 F.3d at 104

Id.

       The public also has a right of access to “judicial records” under the common law. In re

Cendant Corp., 260 F.3d 183, 192 (3d Cir. 2001). Whether a document is a judicial record

“depends on whether a document has been filed with the court, or otherwise somehow incorporated

or integrated into a district court’s adjudicatory proceedings.” In re Cendant Corp., 260 F.3d at



                                                  3
      Case 2:18-cr-00292-RJC          Document 1640         Filed 10/10/24       Page 4 of 12




192. While the act of filing is a significant consideration in determining whether a document is a

judicial record, “the filing of a document does not, on its own, bring that document within the

common law right of access.” N. Jersey Media Grp., 836 F.3d at 435; see also id. (“The test is

more functional than that. ‘[T]he issue of whether a document is a judicial record should turn on

the use the court has made of it rather than on whether it has found its way into the clerk’s file.’”

(quoting Pansy v. Borough of Stroudsburg, 23 F.3d 772, 783 (3d Cir. 1994))). For the common

law right of access to apply, “the item filed must be relevant to the performance of the judicial

function and useful in the judicial process in order for it to be designated a judicial document.” Id.

(quoting United States v. Amodeo, 44 F.3d 141, 145 (2d Cir. 1995)).

       “Although the right of access to judicial records is ‘beyond dispute,’ it is not absolute.”

LEAP Sys., Inc. v. MoneyTrax, Inc., 638 F.3d 216, 221 (3d Cir. 2011) (quoting Nixon v. Warner

Commc’ns, 435 U.S. 589, 598 (1978)). While there is a strong presumption in favor of public

accessibility, documents may be maintained under seal where justice requires. LEAP Sys. Inc.,

638 F3d at 221. The party seeking to overcome the presumption of public accessibility has the

burden to show that the interest in secrecy outweighs the presumption. Id. at 221-22. Where the

Court will maintain documents under seal, it must make “particularized findings . . . (1)

establishing the existence of a compelling governmental interest, and (2) demonstrating that absent

limited restrictions upon the right of access, that other interest would be substantially impaired.”

United States v. Antar, 38 F.3d 1348, 1359 (3d Cir. 1994).

       If a document constitutes a judicial record, courts engage in a good cause balancing test in

determining whether a document may be filed or remain under seal. Pansy, 23 F.3d at 781. With

respect to this balancing test, the Government aptly explains:

       [T]he Court should consider the importance of the confidentiality of the information
       and weigh it against public interests such as when “confidentiality is being sought

                                                  4
      Case 2:18-cr-00292-RJC           Document 1640          Filed 10/10/24       Page 5 of 12




        over information important to public health and safety,” “sharing of information
        among litigants would promote fairness and efficiency,” “a party benefitting from
        the order of confidentiality is a public entity or official,” or “when the judicial
        record involves matters of legitimate public concern.”

ECF No. 1638 at 5 (quoting Pansy, 23 F.3d at 787-88). “In order to override the common law

right of access, the party seeking the closure of a hearing or the sealing of part of the judicial record

‘bears the burden of showing that the material is the kind of information that courts will protect’

and that ‘disclosure will work a clearly defined and serious injury to the party seeking closure.’”

In re Cendant Corp., 260 F.3d at 19. “District courts should balance the relevant interests

irrespective of whether the public has a First Amendment or common law right to the materials.”

United States v. Wecht, 484 F.3d 194, 212 (3d Cir. 2007).

        A. Discovery Materials

        In N. Jersey Media Grp., the Third Circuit held that the First Amendment right of access

does not extend to pretrial discovery materials, finding that both the “experience” and “logic”

prongs weighed against finding that there existed a right of access to a letter that had been

exchanged in discovery. N. Jersey Media Grp., 836 F.3d at 435; see also id. (“[D]iscovery

materials that are part of judicial filings are generally not ‘judicial records’ and do not fall within

the common law right of access.”); Wecht, 484 F.3d at 209 (“In other words, documents filed with

the court are generally subject to the common law right of access, unless attached to a discovery

motion.”); United States v. Anderson, 799 F.2d 1438, 1441 (11th Cir. 1986) (“Discovery is neither

a public process nor typically a matter of public record. Historically, discovery materials were not

available to the public or press. . . . Moreover, documents collected during discovery are not

‘judicial records.’ Discovery, whether civil or criminal, is essentially a private process because the

litigants and the courts assume that the sole purpose of discovery is to assist trial preparation. That




                                                   5
      Case 2:18-cr-00292-RJC           Document 1640          Filed 10/10/24       Page 6 of 12




is why parties regularly agree, and courts often order, that discovery information will remain

private.”).

        The documents filed at ECF Nos. 824-2, 824-3, 824-11, 824-12, 876-1, 876-2, 876-3, 876-

4, 876-5, 904-1, 1083, and 1111 are discovery correspondence exchanged between counsel for the

Government and counsel for the defense. These kinds of documents fail to satisfy the experience

prong, as they are clearly private discovery communications between counsel undertaken in the

discovery process, which is traditionally private and not subject to public access. See N. Jersey

Media Grp., 836 F.3d at 430 (“This difference of opinion over the character of the Conspirator

Letter is no mere battle over labels. It is the issue that, at least on the constitutional point, decides

this case. Determining whether the Conspirator Letter is the sort of document that would

historically have been available to the public, and thus would satisfy the ‘experience’ prong of the

First Amendment inquiry, turns on whether it is more properly thought of as discovery material

or as a bill of particulars. (emphasis added)).

        The Court further finds that the “logic prong” supports maintaining such documents under

seal. These discovery letters discuss the discovery materials produced by the parties to one another

and discovery disputes between the parties. The letters were clearly part and parcel to the

discovery process, and are seemingly materially similar to the letter at issue in N. Jersey Media

Grp. These documents presumably assisted the parties in their knowledge and understanding of

the nature of discovery produced, as well as in resolving discovery disputes without Court

intervention. To apply a right of access in this case could have a chilling effect on cooperative

discovery efforts in the future. See id. at 434 (“Moreover, were we to apply a right of access in

this case, it could stunt future efforts by prosecutors to resolve pretrial discovery disputes and

motions practice without having to involve the district courts.”). The Court finds that there is no



                                                   6
      Case 2:18-cr-00292-RJC          Document 1640         Filed 10/10/24      Page 7 of 12




First Amendment or common law right of access to the discovery correspondence discussed

herein, which are not “judicial records.” See id. at 435 (“For the reasons we have described at

length, the Conspirator Letter is properly categorized as pretrial discovery and thus falls under our

holding in [Leucadia, Inc. v. Applied Extrusion Technologies, Inc., 998 F.2d 157 (3d Cir. 1993)]:

discovery materials that are part of judicial filings are generally not ‘judicial records’ and do not

fall within the common law right of access.”).

       Further, the documents at ECF Nos. 411-1, 783, 801, 823, 824-1, 824-4, 824-9, 824-10,

834, 842, 849-1, 849-2, 853, 1002-2, 1012, 1026, 1032-1, 1033-2, 1033-5, 1033-7, 1057, 1072,

1081, 1101, 1103, 1114, 1123, 1139, 1165, 1297, 1298, 1313, 1391-1, 1391-2, 1391-3, 1391-4,

1391-5, 1391-6, 1391-7, 1391-8, 1494-2 constitute discovery materials or motions, further

discovery correspondence and investigative materials, responsive pleadings to discovery motions,

related attachments, and orders addressing the same in some detail. Again, discovery materials

are not judicial records and do not fall within the public right of access, and are thus properly

maintained under seal, consistent with the Court’s discussion above holding that experience and

logic both counsel that discovery materials should remain private. The Court further notes that

ECF Nos. 849-2, 1297, and 1298 include specific identification or contact information for certain

individuals, further justifying maintaining these documents under seal.

       The Government explained the basis for the sealing of ECF No. 437-2 in its filing at ECF

No. 447, Judge Ambrose sealed that document thereafter, and the Court perceives no basis to

unseal a document that the Government previously characterized as “classified” and seeks to

maintain under seal at this time.

       B. Remaining Documents




                                                 7
      Case 2:18-cr-00292-RJC          Document 1640        Filed 10/10/24      Page 8 of 12




        The remaining documents that the Court will maintain under seal at this time consist of

documents wherein the Government asserts, and the Defendant offers no genuine argument to the

contrary at this time, that compelling privacy interests outweigh the public’s right to access them,

as well as documents that the Defendant filed ex parte and under seal and seeks to maintain under

seal at this time.

        With respect to the jury selection documents filed at ECF Nos. 1086, 1091, 1099, 1106,

1128, 1141, 1143, 1149, 1176, 1179, 1198, 1217, 1219, 1237, 1239, 1248, 1278, these documents

will remain under seal at this juncture. The Court notes that it remained cognizant at all times of

the public’s right of access to voir dire proceedings in a criminal case, and believes that the same

is more than adequately reflected from the Court’s Orders establishing the procedures that would

be utilized in jury selection in this case and from the statements made and actions undertaken by

the Court prior to and during voir dire. That said, “[t]he jury selection process may, in some

circumstances, give rise to a compelling interest of a prospective juror when interrogation touches

on deeply personal matters that person has legitimate reasons for keeping out of the public

domain.” Press-Enter. Co. v. Superior Ct. of California, Riverside Cnty., 464 U.S. 501, 511

(1984). When such privacy interests arose in this case, the Court carefully evaluated those privacy

interests, and very narrowly tailored any restriction on the public’s access so that any such

restriction was as minimal as reasonably feasible. Where prospective jurors revealed deeply

personal and sensitive information, including criminal matters associated with prospective jurors,

under seal, the Court agrees with the Government that maintaining these limited filings under seal

remains warranted at this time. The same logic applies to the documents found at ECF Nos. 1310

and 1333, which involve discussion with empaneled jurors respecting sensitive family information.

Further, the Court has already explained, and stands by, its basis for permanently sealing the names



                                                 8
      Case 2:18-cr-00292-RJC           Document 1640         Filed 10/10/24      Page 9 of 12




of all prospective and actual jurors. Any document revealing identifying information about the

potential jurors will be maintained under seal.

       As to documents involving sensitive victim information and depictions, the Court agrees

entirely with the Government that “[a]lthough the United States’ prosecution of the defendant

necessitated the admission of certain testimony and documents as evidence at trial, respect for the

victims’ and their families’ statutory and common law rights to privacy and dignity should

preclude any additional private information related to the victims or depictions (whether

photographic, video, or audio) of the deceased victims from being made publicly available.” ECF

No. 1638 at 16. The Supreme Court has recognized that victims and family members have a

privacy interest in the manner in which a victim or decedent is portrayed. See Nat’l Archives &

Recs. Admin. v. Favish, 541 U.S. 157, 158 (2004). At all times in this matter, this Court has strived

to carefully balance the right of public access and the privacy interests of the victims. During trial,

which was open to the public, including the use of overflow rooms for the public and the media,

the members of the public and the media were able to view the sensitive evidence that was

introduced in this case. The Court also, however, limited dissemination of such evidence to respect

and protect the privacy interests of the victims and their families in the manner in which the victims

were depicted and portrayed.

       The victims’ privacy interest would be severely impaired were this Court to unseal

sensitive victim information and depictions. As the Government notes, the viral nature of the

internet and the nature of the crimes at issue present a substantial risk that, should such sensitive

information be made publicly available, it “may be gratuitously displayed or exploited by third

parties for harmful or prurient interests.” ECF No. 1638 at 17. Accordingly, the Court finds that

the privacy interests of the victims so substantially outweigh any public right of access such that



                                                  9
     Case 2:18-cr-00292-RJC           Document 1640         Filed 10/10/24       Page 10 of 12




continued sealing of such information is unquestionably appropriate and necessary, and the

following documents will remain under seal: ECF Nos. 406-1, 1033-3, 1092, 1095, 1104 (USB

drive attachment), 1126 (including attachments), 1155, 1158, 1204, 1259-1 attachments (filing

already unsealed), 1295, 1352, 1381-1, 1412-1, 1461-7, 1461-8, 1474, 1539-1, 1539-2, 1539- 3,

1539-4, 1539-5, 1539-6, 1539-7, 1539-8, 1539-9, 1539-10, 1539-11, and 1569.

       With respect to attachments to the Defense’s suppression motions, the Government

explains:

       The defendant filed numerous motions to suppress various evidence obtained in the
       investigation, and during the course of litigating the issues, both parties attached
       full copies of legal process and responses to their pleadings. The attachments were
       filed under seal, which enabled the parties to file full documents, as opposed to
       heavily redacted or excerpted versions, promoting fairness and efficiency to the
       parties and the Court. These attachments included more information than was
       necessary for the Court to make its decision, including un-redacted personally
       identifiable information about the defendant. The parties and the Court included
       the relevant portions of the attachments in their pleadings and the Court’s order.

ECF No. 1638 at 19-20. For the common law right of access to apply, “the item filed must be

relevant to the performance of the judicial function and useful in the judicial process in order for

it to be designated a judicial document.” N. Jersey Media Grp., 836 F.3d at 435 (quoting United

States v. Amodeo, 44 F.3d 141, 145 (2d Cir. 1995)). Because the sealed documents include much

more information than was necessary to the Court’s ruling, and because the information necessary

to the Court’s decision is sufficiently detailed in unsealed pleadings, the Court finds that the sealed

documents are of limited, if any, adjudicative significance. Accordingly, the Court will maintain

the following documents under seal: ECF Nos. 303-1, 305-1, 306-1, 307-1, 309-1, 310-1, 313-1,

318-1, 318-2, 318-3, 318-4, 318-5, 318-6, 318-7, 357-1, 357-2, 358-1, 358-2, 362- 1, 362-2, 362-

3, 366-1, 408-1, 408-2, 408-3, 408-4, 408-5, 408-6, 408-7, 408-8, 408-9, and 408-10.




                                                  10
     Case 2:18-cr-00292-RJC          Document 1640         Filed 10/10/24      Page 11 of 12




       As to the documents the Government characterizes as business record certifications and

legal process responses, which “included the names of record custodians, detailed non-public

account information, and firearm transaction records that included names of non-witness

individuals and some addresses and other personally identifiable information,” the Court again

agrees that the same should remain sealed at this time. Similar to the attachments to the Defense’s

suppression motions, the essential information in these documents was either introduced at trial or

is contained in the public record, and the documents otherwise contain non-public information that

is not essential to the proceedings. Accordingly, the Court will maintain ECF Nos. 1203-1, 1203-

2, 1203-3, 1203-4, and 1203-5 under seal.

       Again, similar reasoning applies to Defendant’s private and sensitive medical information

contained in documents that are attached to certain of Defendant’s filings, as the Court admitted

only redacted reports and because the full reports contain private mental health information.

Defendant clearly has a privacy interest in his medical information, the public was provided access

to all relevant information, and the Court finds that maintaining the full unredacted copies of those

documents under seal is appropriate. These include ECF Nos. 1389-1, 1389-2, 1389- 3, 1389-4,

and 1389-5. Further, documents that contain detailed private medical information of the witnesses

who sought to testify via video during trial in this matter will be maintained under seal, including

ECF Nos. 1379, 1380, 1384, 1413, 1441, and 1465. The Court has publicly provided sufficient

explanation for its rulings on these requests, and finds that revealing these witnesses’ medical

information would substantially impair the witnesses’ interest in maintaining the privacy of their

medical information.

       Finally, at the Government’s request, the Court has conducted an in camera review of the

ex parte documents at issue. The Court notes that Defendant has accurately categorized those



                                                 11
      Case 2:18-cr-00292-RJC         Document 1640         Filed 10/10/24      Page 12 of 12




documents as falling into two categories: (1) filings involving the selection, funding, and budgeting

of CJA defense counsel assigned by the Court and defense experts and investigators retained by

counsel with the Court’s approval, to which no common law or First Amendment right of access

applies; and (2) filings that necessarily disclosed confidential defense strategy, attorney-client

communications, investigative leads, information about trial counsel’s conversations with uncalled

witnesses or with Mr. Bowers, and similar privileged and attorney work-product information not

properly disclosed to the public or the Government. Defendant cites to ample case law in support

of his assertion that these documents should be maintained as both ex parte and under seal, and the

Government at least agrees that the “case law the defendant initially cites supports the proposition

that certain types of ex parte materials, such as financial affidavits and CJA expense filings and,

as discussed above, records related to the discovery of evidence, may properly be maintained under

seal.” ECF No. 1638 at 22. While the Government takes issue with the Defendant’s purported

broad assertion of the work product privilege, the Court has reviewed each of the documents at

issue, and finds, consistent with its prior rulings permitting the documents to be filed ex parte and

under seal in the first instance, that each ex parte submission should be maintained under seal at

this time. These documents include confidential and privileged information that is simply not

subject to public access. Accordingly, ECF Nos. 34, 48, 55, 56, 64, 65, 73, 81, 82, 169, 262, 421,

469, 474, 557, 569, 570, 578, 581, 632, 634, 644, 674, 678, 733, 766, 768, 913, 974, 1136, 1258,

1291, 1302, 1319, 1416, 1432, 1466, 1470, 1498, 1525, and 1586 will be maintained as ex parte

and under seal at this time.

                                                              BY THE COURT:

                                                              /s/Robert J. Colville_______
                                                              Robert J. Colville
                                                              United States District Judge
cc:    All counsel of record

                                                 12
